      Case 4:24-cv-00181-WMR       Document 78     Filed 02/14/25   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

MELANIE HOGAN SLUDER and                    )
RICKY SHAWN CURTIS, Individually and )
as Independent Administrators of the Estate )
of Alexas Marie Sluder, Deceased,           )
                                            )
      Plaintiffs,                           )       CIVIL ACTION FILE NO.:
                                            )       4:24-cv-00181-WMR
v.                                          )
                                            )
REBECKA PHILLIPS, MAVEIS BROOKS,)
RUSSELL BALLARD, SHARON ELLIS, )
DAVID MCKINNEY, MONICA                      )
HEADRICK, and GILMER COUNTY (a )
municipal corporation),                     )
                                            )
      Defendants.                           )
      Defendants.                           )

         RULE 5.4 CERTIFICATE OF SERVICE OF DISCOVERY

      COMES NOW, Defendant Monica Headrick, by and through her undersigned

counsel, and pursuant to the Local Rules of the Northern District of Georgia Rule 5.4,

hereby files this Certificate of Service of Discovery showing the Court that the

following discovery was served:

   1. DEFENDANT MONICA HEADRICK’S FIRST SUPPLEMENTAL
      RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST CONTINUING
      INTERROGATORIES

   2. DEFENDANT MONICA HEADRICK’S FIRST SUPPLEMENTAL
      RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST REQUEST FOR
      PRODUCTION
                                          1
      Case 4:24-cv-00181-WMR       Document 78     Filed 02/14/25   Page 2 of 2




by delivering a .PDF copy of same by electronic mail to the email address for counsel

of record, based on the agreement of the parties as reflected in the Joint Preliminary

Report and Discovery Plan (Doc 39):

                              Harold Boone, Jr., Esq.
                               The Boone Firm P.C.
                               100 Hartsfield Center
                                     Suite 100
                              Atlanta, Georgia 30354
                             hboonejr@boonefirm.com

                                 Sam Harton, Esq.
                             Romanucci & Blandin, LLC
                                 321 N. Clark St.
                                Chicago, IL 60654
                                sharton@rblaw.net

                                       BUCKLEY CHRISTOPHER &
                                       HENSEL, P.C.

                                       /s/ Timothy J. Buckley III
2970 Clairmont Road NE                 TIMOTHY J. BUCKLEY III
Suite 650                              Georgia State Bar No. 092913
Atlanta, Georgia 30329                 Attorney for Defendant Headrick
(404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com




                                          2
